Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 1 of 48 PageID #: 1177




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA :
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       -v-                                         :
                                                   :   03 Cr. 1120 (FB)
EDWARD COPELAND,                                   :
          Movant-Defendant.                        :
- - - - - - - - - - - - - - - - - - - - - - - - - -x


                  EMERGENCY MOTION FOR COMPASSIONATE RELEASE
                        PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 2 of 48 PageID #: 1178



       Edward Copeland is 67 years old. He suffers from hypertension, aortic atherosclerotic

disease, chronic hepatitis C, latent tuberculosis infection, pre-diabetes, hyperlipidemia, and

vitamin D deficiency. His age and underlying medical conditions put him at high risk for severe

illness and death from COVID–19. And he is incarcerated at FCI Fort Dix, where 29 inmates and

two staff members have tested positive for the novel coronavirus.

       Copeland has served about 19 years of a 23-year sentence for driving the getaway car

during a bank robbery in which $3,710 was stolen and no one was injured. While imprisoned,

Copeland has incurred no disciplinary infractions. He has been promoted several times on his

work detail, and is now a building coordinator responsible for training new orderlies. He has

completed drug treatment, and has participated in, designed, and taught dozens of other

rehabilitative, vocational, and educational programs. Copeland’s counselor, who has supervised

him for the past six-plus years, writes: “Inmate Copeland is a leader in his religious community.

Every staff member at the institution has had a positive interaction with inmate Copeland. Inmate

Copeland has demonstrated tremendous growth as a worker and a human being.”

       “Extraordinary and compelling reasons” exist to warrant Copeland’s immediate

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). First, Copeland’s age and serious

medical conditions, coupled with the emergence and rapid spread of COVID–19 at Fort Dix,

“substantially diminish[]” his “ability to provide self-care”—to practice self-isolation, social

distancing, sanitation, and proper hygiene, as necessary to protect himself from infection—

“within the environment of a correctional facility.” U.S.S.G. § 1B1.13 cmt. n.1(A)(ii). Second,

apart from the pandemic, Copeland is at least 65 years old, “is experiencing a serious

deterioration in physical or mental health because of the aging process,” and has served at least 10

years of his sentence. § 1B1.13 cmt. n.1(B). Third, apart from both the pandemic and his



                                                 1
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 3 of 48 PageID #: 1179



declining health, Copeland is at least 65 years old and has served at least 75 percent of his

sentence. See §1B1.13 cmt. n.1(D); BOP, Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582 and

4205(g), at § 4(c) (Jan. 17, 2019), available at https://bit.ly/2S4QmOw (this, and all websites

cited herein, last visited Apr. 25, 2020). Each of these three sets of circumstances suffices to

justify the release of this elderly, infirm, and changed man who has served a substantial sentence

of about 229 months. Together, they compel that course, in particular once this Court exercises its

independent authority to determine what constitute “extraordinary and compelling reasons”

warranting compassionate release. This Court should therefore reduce Copeland’s sentence to

time served, convert the unserved portion of his sentence to supervised release, and modify his

conditions of supervision as appropriate, including by ordering a period of home incarceration.

                                         BACKGROUND

       In 2003, Copeland was the getaway driver for a bank robbery in Brooklyn. While Copeland

waited outside, his co-defendants Virgil Rivers and Robertino Vasquez robbed the bank: Rivers

vaulted the teller counter and gathered $3,710 in cash from the teller drawers; Vasquez kept the

customers and employees at bay with a loaded handgun. Copeland drove the group from the scene.

After a short police pursuit, the car crashed and all three were arrested. PSR ¶¶ 5–6. A jury

convicted Copeland of: (i) conspiracy to commit bank robbery, in violation of 18 U.S.C. § 371; (ii)

armed bank robbery, 18 U.S.C. § 2113(d); and (iii) brandishing a firearm during and in relation to

a crime of violence, namely, bank robbery, 18 U.S.C. § 924(c)(1)(A)(ii). Dkt. No. 187, at 1.

       At sentencing in 2005, this Court determined that Copeland was a career offender (based

on prior federal bank robbery convictions), calculated a Guidelines range of 360 months to life,

and sentenced Copeland to an aggregate term of 280 months. Sent’g Tr. 18–19, 45; Dkt. No. 187,



                                                  2
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 4 of 48 PageID #: 1180



at 2. This Court noted several factors that warranted a downward variance from the Guidelines

range. First, although Copeland’s criminal history was serious, he was “kind of a benign bank

robber,” in that “[t]here’s no indication that he physically assaulted anyone, … no major physical

harm that he visited upon any of his victims. … [H]e has a history of nonviolent bank robberies.”

Sent’g Tr. 29. (In fact, the jury acquitted Copeland of a felon-in-possession count involving the

firearm that Vasquez brandished. See Dkt. No. 77, at 3–4; Trial Tr. 873. And the jury was

instructed that it could convict Copeland of the armed bank robbery and § 924(c) counts on a

Pinkerton theory of liability. Trial Tr. 774–76.). Second, Copeland had endured “tragic” “life

circumstances,” including a “lifetime battle” with heroin addiction, which began at age 12, when

“he was introduced to heroin by an older gentleman who lived in the same housing project.”

Sent’g Tr. 44; PSR ¶ 87. Copeland’s “life of drug addiction” was “a significant circumstance[] that

very likely ha[d] been a factor” in his criminal history. Sent’g Tr. 46. Third, Copeland’s advanced

age (then 52) made it “unlikely that you are going to be committing any more bank robberies if

and when you get out of jail at 70 … or 72.” Id. at 45–46. “A lengthy sentence of 20 or 25

years”—this Court landed in the middle of that range, at 23 years and four months— would “as a

practical matter, incapacitate him considering his age.” Id. at 30. Copeland is serving his sentence,

and his release date is August 18, 2023. See BOP, Inmate Locator, https://bit.ly/352WJXM.

       In the 16-plus years that Copeland has spent incarcerated for these offenses, he has

changed. As his counselor, L. Kwartin, writes: “Since arriving at FCI Fort Dix in 2013, Inmate

Copeland has remained incident report free. Inmate Copeland is a leader in his religious

community. Every staff member at the institution has had a positive interaction with inmate

Copeland. Inmate Copeland has demonstrated tremendous growth as a worker and a human being

while being under my direct supervision in the last six years.” Exh. A (Kwartin Letter). Every



                                                 3
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 5 of 48 PageID #: 1181



aspect of Copeland’s institutional record reflects his transformation and rehabilitation. As

Counselor Kwartin reports, Copeland has had no disciplinary infractions in six-plus years at Fort

Dix. Although I do not have access to pre-2013 records, it is my understanding that Copeland has

had no disciplinary infractions at all during his entire term of imprisonment. He has built a steady

work history, “always accepting and completing all duties thrown his way.” Id. Copeland has risen

from unit orderly, to floor coordinator, to his present position, building coordinator, where he is

“responsible for: opening and closing units, training new orderlies, overall building sanitation,

outside grounds sanitation, floor maintenance, and special cleanup detail.” Id. See also Exh. B

(BOP, Individualized Reentry Plan—Program Review), at 1. In addition, Copeland has

participated in numerous BOP programs. Id. at 1–2. To combat his long history of heroin

addiction, e.g., PSR ¶¶ 87–92; Sent’g Tr. 12–13; Copeland has completed nonresidential drug

treatment and drug education programs. Exh. B, at 2. He has designed and taught courses for other

inmates, including Breaking Cycles of Unproductiveness, Critical Elevated Thinking, and

Enlightenment for Spiritual and Moral Development. Id. at 1–2.

       At the same time, Copeland’s health has deteriorated with age. He is 67 years old. Exh. B,

at 1. He suffers from hypertension, for which he is prescribed hydrocholorothiazide. Exh. C (BOP

Health Services, Health Problems), at 1; Exh. D (BOP Health Services, Medication Summary

Historical), at 1; Ex. E (BOP Health Services, Clinical Encounter of Nov. 25, 2019), at 1, 4–5. He

has long battled chronic Grade 2/Stage 1 hepatitis C (now in remission), which has resulted in mild

piecemeal necrosis of the liver and mild lobular inflammation, and for which he was prescribed

Mavyret as recently as 2019. Exh. C, at 2; Exh. D, at 2; Exh. E, at 1, 4–5. He has been classified

pre-diabetic (“pre-DM”) and “is being counseled” for “diabetes mellitus management.” Exh. F

(BOP Health Services, Patient Education Assessment & Topics), at 1; see Exh. E, at 1, 5. He has



                                                  4
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 6 of 48 PageID #: 1182



hyperlipidemia, for which he is prescribed atorvastatin. Exh. C, at 1; Exh. D, at 1; Exh. E, at 1, 4–

5. He has long experienced Vitamin D deficiency, for which he receives no treatment. Exh. C, at 1;

Exh. E, at 1, 4–5. An abdominal ultrasound in 2017 revealed aortic atherosclerotic disease. Exh. G

(Abdominal Ultrasound Report). While incarcerated at USP Allenwood in 1996, Copeland was

treated for tuberculosis, and he still has latent tuberculosis infection (“LTBI”) today. PSR ¶ 86;

Exh. C, at 1; Exh. E, at 1, 4–5. In short, Copeland possesses the declining health profile of a 67-

year-old man who has spent the better part of his life incarcerated.

       In the past two months, the COVID–19 pandemic has swept the United States. As of April

25, the virus has infected 895,766 people and killed 50,439. CDC, Cases of Coronavirus Disease

(COVID–19) in the U.S., https://bit.ly/3bCcYO8. BOP has reported 730 confirmed cases among

inmates, 317 among staff, and 26 inmate deaths. BOP, COVID–19 Cases, https://bit.ly/3clOkRX.

The proliferation of COVID–19 in BOP has been dramatic:


                   BOP-Reported Positive Tests for COVID-19 Nationwide
          800
          700
          600
          500
          400
          300
          200
          100
            0




                 Number of Positive Inmates   Number of Positive Staff   Number of Inmate Deaths




This comes as no surprise. “[C]onditions of confinement—sharing small cells, eating together,

using same bathrooms and sinks, delays in medical evaluation and treatment, and rationed access

                                                     5
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 7 of 48 PageID #: 1183



to soap—make prisons more potentially conducive to the transmission of COVID-19 than

elsewhere.” United States v. Haney, 2020 WL 1821988, at *6 (S.D.N.Y. Apr. 13, 2020). “Jails and

prison are powder kegs for infection. People in jails and prisons cannot practice social distancing,

control their exposure to large groups, practice increased hygiene, wear protective clothing, obtain

specific products for cleaning and laundry, avoid frequently touched surfaces, or sanitize their own

environment.” United States v. Skelos, 2020 WL 1847558, at *1 (S.D.N.Y. Apr. 12, 2020).

“Because inmates live in close quarters, there is an extraordinarily high risk of accelerated

transmission of COVID–19 within jails and prisons.” Exh. H (Aff. of Brie Williams, M.D.), at ¶ 7.

       Fort Dix, where Copeland is incarcerated, conforms to this alarming trend. Fort Dix has 29

confirmed inmate cases and two confirmed staff cases. BOP, COVID–19 Cases,

https://bit.ly/3clOkRX. As recently as April 6, no inmates had tested positive. See Exh. I (Email of

Apr. 6, 2020). And these numbers understate the true figure. BOP only tests “[s]ymptomatic

inmates with exposure risk factors.” BOP, BOP Implementing Modified Operations,

https://bit.ly/3eRHoxE. But many carriers display no symptoms. See Arons et al., Presymptomatic

SARS–CoV–2 Infections and Transmission in a Skilled Nursing Facility, New England Journal of

Medicine (Apr. 24, 2020) (finding that in study population, “more than half of the residents with

positive tests were asymptomatic at the time of testing”), available at https://bit.ly/2KDcj2R. And

because asymptomatic carriers play a significant role in spreading the coronavirus, “[i]nfection-

control strategies focused solely on symptomatic residents” are “not sufficient to prevent

transmission” after the virus’s introduction into a facility. Id. Moreover, inmates at Fort Dix live in

communal settings such as dormitories and shared cells. Even under BOP’s modified operations

plan, inmates congregate for meals, for showers, and to use the shared computers and telephones

that link them to their lawyers and families.



                                                  6
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 8 of 48 PageID #: 1184



       On April 6 and 7, through counsel, Copeland submitted email requests to Fort Dix’s

warden for immediate compassionate release to home confinement. Exh. I (Emails of April 6 and

April 7, 2020). He cited his age, medical conditions, and risk of severe illness, and specified that if

released, he would reside with Linda Johnson, his partner of 50 years, at her apartment in

Brooklyn. The warden responded by letter to counsel, acknowledging receipt, but stating: “[A]s

inmate Copeland is capable of making his own request, your submission on his behalf will not be

considered.” Id. (Letter of April 7, 2020). That response conflicts with the express language of

BOP’s own regulation concerning requests for compassionate release, which provides: “The

Bureau of Prisons processes a request made by another person on behalf of an inmate in the same

manner as an inmate’s request. Staff shall refer a request received at the Central Office to the

Warden of the institution where the inmate is confined.” 28 C.F.R. § 571.61(b). See also, e.g.,

United States v. Gross, 2020 WL 1862251, at *1 n.1 (S.D.N.Y. Apr. 14, 2020) (deeming date that

BOP confirmed receipt of counsel’s submission date of receipt for purposes of § 3582(c)(1)(A),

and citing § 571.61(b)); BOP, Program Statement 5050.50, § 2 (reproducing § 571.61(b), and

providing that “[a] request for a [reduction in sentence] is considered ‘submitted’ for the purposes

of 18 U.S.C. § 3582(c)(1) when it is received by the Warden in accordance with this section”).

Nonetheless, once counsel told Copeland of the warden’s response, Copeland resubmitted

counsel’s email requests himself. The warden has not responded to Copeland’s resubmission.


                                           ARGUMENT

I.     This Court Should Reduce Copeland’s Sentence To Time Served.

       Section 3582(c)(1)(A)(i) empowers this Court to order compassionate release if

“extraordinary and compelling reasons” so warrant. That statutory phrase, read in conjunction

with § 1B1.13 and Application Note 1, as well as BOP Program Statement 5050.50, encompasses

                                                  7
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 9 of 48 PageID #: 1185



at least three sets of circumstances present here: (i) Copeland’s age and underlying health

conditions place him at high risk of severe illness and death should he contract the COVID–19

virus that has come to Fort Dix; (ii) Copeland is at least 65, is suffering from aging-related health

deterioration, and has served at least 10 years of his sentence; and (iii) Copeland is at least 65 and

has served at least 75% of his sentence. In light of Copeland’s evident rehabilitation and his

unique health risks, a sentence reduction to time served (about 229 months, still a stiff term)

would not endanger the public and would comport with the 18 U.S.C. § 3553(a) factors. Finally,

§ 3582(c)(1)(A)’s exhaustion requirement is satisfied. Through counsel, Copeland submitted his

request to the warden in accordance with the pertinent regulation and program statement, but the

warden refused to consider the request. The administrative process is therefore unavailable.

Ross v. Blake, 136 S. Ct. 1850, 1859 (2016). In addition, this Court may adjudicate Copeland’s

motion without waiting the 10 days left on § 3582(c)(1)(A)’s 30-day clock. That provision, meant

to accelerate rather than impede judicial review, is non-jurisdictional, waivable, and appropriately

waived here, where each day that passes threatens Copeland with catastrophic harm.

A.     Legal Framework

       As amended by the First Step Act, § 3582(c)(1)(A)(i) provides that this Court:

       upon motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
       behalf or the lapse of 30 days from the receipt of such a request by the warden of the
       defendant’s facility, whichever is earlier, may reduce the term of imprisonment (and may
       impose a term of probation or supervised release with or without conditions that does not
       exceed the unserved portion of the original term of imprisonment), after considering the
       factors set forth in [§ 3553(a)] to the extent that they are applicable, if it finds that ...
       extraordinary and compelling reasons warrant such a reduction ...
       and that such a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

First Step Act of 2018, § 603(b), Pub. L. No. 115–391, 132 Stat. 5194, 5239 (codified at

§ 3582(c)(1)(A)(i)). The “applicable policy statement[],”§ 1B1.13, authorizes a sentence

                                                  8
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 10 of 48 PageID #: 1186



reduction if “[e]xtraordinary and compelling reasons warrant the reduction” and “[t]he defendant

is not a danger to the safety of any other person or to the community, as provided in 18 U.S.C.

§ 3142(g).” §§ 1B1.13(1) and (2).

     Application Note 1 to § 1B1.13 defines “extraordinary and compelling reasons” to include at

least three sets of circumstances satisfied here:

     •   “Medical Condition of the Defendant: … The defendant is suffering from a serious
         physical or medical condition, … or experiencing deteriorating physical ... health because
         of the aging process, that substantially diminishes the ability of the defendant to provide
         self-care within the environment of a correctional facility and from which he or she is not
         expected to recover.” § 1B1.13 cmt. n.1(A)(ii)(I) and (III).
     •   “Age of the Defendant: The defendant (i) is at least 65 years old; (ii) is experiencing a
         serious deterioration in physical or mental health because of the aging process; and (iii)
         has served at least 10 years or 75 percent of his or her sentence, whichever is less.”
         § 1B1.13 cmt. n.1(B).
     •   “Other Reasons: As determined by the Director of the Bureau of Prisons, there exists in
         the defendant’s case an extraordinary or compelling reason other than, or in combination
         with, the reasons described in subdivisions (A) through (C).” § 1B1.13 cmt. n.1(D). And
         BOP has determined that compassionate release may be available, without regard to
         medical condition, to “[i]nmates 65 or older who have served the greater of 10 years or
         75% of the term of imprisonment to which the inmate was sentence.” BOP, Program
         Statement 5050.50, supra, § 4(c).

Copeland’s request fits squarely into each.

         In any event, Application Note 1’s list is illustrative, not exhaustive. As Judge Dearie has

explained, this Court has the independent authority, apart from the Sentencing Commission or

BOP, to determine what constitutes “extraordinary and compelling reasons” for release, and is not

limited by the examples in Application Note 1 or Program Statement 5050.50. United States v.

Haynes, 2020 WL 1941478, at *11–15 (E.D.N.Y. Apr. 22, 2020) (RJD) (so ruling, and collecting

cases); United States v. Rodriguez, 2020 WL 1627331, at *2–6 (E.D. Pa. Apr. 1, 2020) (same).

B.       Copeland’s Age, Hypertension, And Multiple Additional Comorbidities, Coupled
         With The Prevalence Of COVID–19 At Fort Dix, Constitute “Extraordinary And
         Compelling Reasons” Warranting Release Under Application Note 1(A).

         Copeland’s age and multiple underlying medical conditions place him at high risk of

                                                    9
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 11 of 48 PageID #: 1187



severe illness and death from COVID–19. Copeland is 67 years old, a well-established risk factor.

The CDC has specifically identified people 65 and older as being “at high-risk for severe illness

from COVID–19.” CDC, People Who Are at High Risk for Severe Illness, https://bit.ly/2ztvB8O.

Indeed, in an early report, the CDC found that “[o]verall, 31% of cases, 45% of hospitalizations,

53% of ICU admissions, and 80% of deaths associated with COVID-19 were among adults aged

≥65 years ... . Similar to reports from other countries, this finding suggests that the risk for serious

disease and death from COVID-19 is higher in older age groups.” CDC COVID–19 Response

Team, Severe Outcomes Among Patients with Coronavirus Disease 2019—United States,

February 12–March 16, 2020 (March 27, 2020) (“CDC, March 27 Report”), available at

https://bit.ly/2Y2xeEB. A more recent CDC report finds that COVID–19 “[h]ospitalization rates

increased with age,” and that for those ages 65–74, the rate was 12.2 per 100,000 population, as

opposed to 4.6 overall. Garg et al., Hospitalization Rates and Characteristics of Patients

Hospitalized with Laboratory-Confirmed Coronavirus Disease 2019—COVID–NET, 14 States,

March 1–30, 2020 (Apr. 17, 2020) (“CDC, April 17 Report”), available at

https://bit.ly/2yD75BM. Finally, a Journal of the American Medical Association report from last

week made consistent, indeed, worse, findings: the median age for 5,700 COVID–19

hospitalizations in the New York City area was 63; the mortality rate rose steadily with age, and

was 18.7% for those in Copeland’s cohort (men aged 60–69); and those 60 and older accounted

for 86% of deaths. Richardson et al., Presenting Characteristics, Comorbidities, and Outcomes

Among 5700 Patients Hospitalized with COVID–19 in the New York City Area (Apr. 22, 2020)

(“JAMA, April 22 Report”), available at https://bit.ly/3eNqvo3. There is no doubt that “COVID–

19 poses an increased risk to elderly individuals.” United States v. Asaro, 2020 WL 1899221, at

*3 (E.D.N.Y. Apr. 17, 2020) (ARR); see also, e.g., United States v. Hansen, 2020 WL 1703672,



                                                  10
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 12 of 48 PageID #: 1188



at *8 (E.D.N.Y. Apr. 8, 2020) (KAM) (“[T]he court acknowledges the unique risks posed by the

COVID–19 pandemic to prisoners ... who [are] elderly and infirm.”).

       Copeland also has hypertension, another well-established risk factor. Hypertension has

“been associated with increased illness severity and adverse outcomes” from COVID–19. CDC,

Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease

(COVID–19), https://bit.ly/3cjQyRM. A World Health Organization report found that

“individuals at highest risk for severe disease and death include people aged over 60 years and

those with underlying conditions such as hypertension.” WHO, Report of the WHO–China Joint

Mission on Coronavirus Disease 2019 (COVID–19), at 12 (Feb. 24, 2020), available at

https://bit.ly/2yJWBQN. The WHO has found that the mortality rate among those with

hypertension is 8.4%, compared to 1.4% for those otherwise healthy. Id. See also CDC COVID–

19 Response Team, Preliminary Estimates of the Prevalence of Selected Underlying Health

Conditions Among Patients with Coronavirus Disease 2019—United States, February 12–March

20, 2020 (Apr. 3, 2020) (“CDC, April 3 Report”) (concluding, “consistent with findings from

China and Italy,” that “patients with underlying health conditions and risk factors, including ...

hypertension, ... might be at higher risk for severe disease or death from COVID–19”), available

at https://bit.ly/2VWMa4r. The CDC’s April 17 Report found that hypertension was the most

single common comorbidity for COVID–19, appearing in 49.7% of all patients and 72.6% of

those 65 and older. The JAMA’s April 22 Report agrees, finding that the hypertension was the

single most common comorbidity, appearing in 56.6% of all patients. Again, courts have

recognized the risk that hypertension poses. E.g., United States v. Scparta, 2020 WL 1910481, at

*9 (S.D.N.Y. Apr. 20, 2020) (“The [CDC] has identified hypertension as a comorbidity that

increases the likelihood of serious risk from COVID–19.”); United States v. Sawicz, 2020 WL



                                                 11
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 13 of 48 PageID #: 1189



1815851, at *2 (E.D.N.Y. Apr. 10, 2020) (ARR).

       Copeland’s age and hypertension, beyond dispute, elevate his risk, and suffice to warrant

relief. But he also suffers from a cluster of other conditions that may have the same effect, either

today or if they worsen. For example, Copeland has aortic atherosclerotic disease, and “patients

with underlying health conditions and risk factors including ... coronary artery disease ... might be

at higher risk for severe disease or death.” CDC, April 3 Report. Multiple studies have identified

coronary artery disease as a prevalent comorbidity. E.g., CDC, April 17 Report (observing

coronary artery disease in 14.2% of all patients, and 25.4% of those aged 65 and older); JAMA,

April 22 Report (observing coronary artery disease in 11.1% of all patients). Copeland also has

hepatitis C, and “some people living with ... hepatitis C who also have other conditions such as

hypertension ... will likely have an increased risk of serious illness if they get COVID–19.” World

Hepatitis Alliance, Coronavirus (COVID–19, SARS–CoV–2) and Viral Hepatitis: Sources of

Information (March 26, 2020), https://bit.ly/2Y2VXJ1. Copeland has latent tuberculosis, and a

preprint publication has concluded that infection with the M. tuberculosis pathogen “likely

increases susceptibility to SARS–CoV–2, and increases COVID–19 severity.” Liu et al., Active

or Latent Tuberculosis Increases Susceptibility to COVID–19 and Disease Severity (March 16,

2020), available at https://bit.ly/2ztH0FC. See also, e.g., United States v. Atwi, 2020 WL

1910152, at *5 (E.D. Mich. Apr. 20, 2020) (discussing latent tuberculosis as potential risk factor,

and granting compassionate release); Doe v. Barr, 2020 WL 1820667, at *5 (N.D. Cal. Apr. 12,

2020) (same; granting release from immigration detention). And Copeland has pre-diabetes;

should that condition degenerate into diabetes, the risk would be manifest. See CDC, People Who

Are at High Risk for Severe Illness, (listing “[p]eople with diabetes”), https://bit.ly/2ztvB8O.

       This unique constellation of Copeland’s age, his risk factors, and the emergence of



                                                 12
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 14 of 48 PageID #: 1190



COVID–19 at Fort Dix, establish “extraordinary and compelling reasons” to grant compassionate

release pursuant to § 3582(c)(1)(A)(i) and U.S.S.G. § 1B1.13 cmt. n.1(A)(ii). “The COVID–19

pandemic is extraordinary and unprecedented in modern times in this nation. It presents a clear

and present danger to free society for reasons that need no elaboration.” United States v.

Hernandez, 2020 WL 1684062, at *3 (S.D.N.Y. Apr. 2, 2020). “Confined to a small cell where

social distancing is impossible,” a high-risk inmate such as Copeland “cannot provide self-care

because he cannot protect himself from the spread of a dangerous and highly contagious virus.”

United States v. Perez, 2020 WL 1546422, at *4 (S.D.N.Y. Apr. 1, 2020). And “realistically, a

high-risk inmate who contracts the virus while in prison will face challenges in caring for

himself.” Hernandez, 2020 WL 1684062, at *3. Thus, “numerous courts have recently concluded

that ‘extraordinary and compelling reasons’ exist for purposes of the policy statement where

inmates suffer from medical conditions that place them at a higher risk of serious illness in the

event they contract COVID-19.” Gross, 2020 WL 1862251, at *3. See also United States v.

Smith, 2020 WL 1849748, at *4 (S.D.N.Y. Apr. 13, 2020).

       Numerous courts have relied on many of these precise conditions to grant

§ 3582(c)(1)(A)(i) motions. E.g., United States v. Bess, 2020 WL 1940809 (W.D.N.Y. Apr. 22,

2020) (64 years old; multiple conditions, including coronary artery disease and hypertension);

Scparta, 2020 WL 1910481 (multiple conditions, including hypertension); Atwi, 2020 WL

1910152 (latent tuberculosis); United States v. Joling, 2020 WL 1903280 (D. Or. Apr. 17, 2020)

(multiple conditions, including hypertension and atherosclerosis); Samy v. United States, 2020

WL 1888842 (E.D. Mich. Apr. 16, 2020) (72 years old; multiple conditions, including

hypertension); United States v. Ben-Yhwh, 2020 WL 1874125 (D. Haw. Apr. 13, 2020) (73 years

old; multiple conditions, including hypertension); United States v. Burrill, 2020 WL 1846788



                                                13
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 15 of 48 PageID #: 1191



(N.D. Cal. Apr. 10, 2020) (75 years old; multiple conditions, including hypertension); Sawicz,

2020 WL 1815851 (hypertension); Miller v. United States, 2020 WL 1814084 (E.D. Mich. Apr.

9, 2020) (69 years old; multiple conditions, including coronary artery disease, hypertension, and

hepatitis C); United States v. Zukerman, 2020 WL 1659880 (S.D.N.Y. Apr. 3, 2020) (multiple

conditions, including hypertension); United States v. Colvin, 2020 WL 1613943 (D. Conn. Apr. 2,

2020) (multiple conditions, including hypertension); United States v. Rodriguez, 2020 WL

1627331 (E.D. Pa. Apr. 1, 2020) (multiple conditions, including hypertension); United States v.

Muniz, 2020 WL 1540325 (S.D. Tex. March 30, 2020) (multiple conditions, including

hypertension). Copeland’s request fits comfortably within this growing body of law.

C.      Copeland’s Age, Deteriorating Physical Health, And His Service Of 19 Years Of A
        23-Year Sentence, Constitute “Extraordinary And Compelling Reasons” Warranting
        Release Under Application Notes 1(B) and 1(D).

        Apart from the pandemic, Copeland’s age, deteriorating health, and the completion of 19

years of his 23-year sentence, warrant release under Application Notes 1(B) and 1(D). With

respect to Application Note 1(B), there can be no dispute that Copeland meets the first and third

criteria: he “is at least 65 years old” and “has served at least 10 years ... of his sentence.”

§ 1B1.13 cmt. n.1(B)(i) and (iii). As described above (at 5–6), he also satisfies the second

criterion: he “is experiencing a serious deterioration in physical ... health because of the aging

process.” § 1B1.13 cmt. n.1(B)(ii). When Copeland was sentenced in 2005, he was 52 years old

and “enjoy[ed] good physical health.” PSR ¶ 86. That is no longer true. As he has grown older,

Copeland has developed multiple serious diseases of aging. For example, he has developed

hypertension, which “causes over 7 million premature deaths per year and contributes to 4.5% of

the total disease burden worldwide. ... [O]lder adults account for the bulk of hypertension-related

morbidity and mortality—due largely to dramatically greater prevalence among the elderly.”


                                                  14
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 16 of 48 PageID #: 1192



Buford, Hypertension and Aging, Ageing Res. Rev. (March 2016), available at

https://bit.ly/2KzRJAx. See also, e.g., Lionakis et al., Hypertension in the Elderly, World J.

Cardiology (May 2012) (“Data collected over a 30-year period have demonstrated the increasing

prevalence of hypertension with age.”), available at https://bit.ly/2VFY5Vz; Mateos-Caceres et

al., New and Old Mechanisms Associated with Hypertension in the Elderly, Int’l J. Hypertension

(Oct. 20, 2011) (“Age is a powerful risk factor for hypertension, death, and cardiovascular death.

In this regard, high blood pressure in the elderly confers a three- to fourfold increase in risk for

cardiovascular disease, compared to younger individuals.”), available at https://bit.ly/3eUc3dN.

       Likewise, Copeland has developed aortic atherosclerosis, which “is a major cause of death

in the Western world. ... Increasing evidence indicates that aging is ... an important risk factor for

atherosclerosis and persists as an independent factor when all other known factors are controlled.”

Wang et al., Mechanisms, Functional Consequences, and Potential Therapeutics for Cellular

Senescence, Aging & Atherosclerosis (July 6, 2012), available at https://bit.ly/2S7DkQk. And

old age is associated with worse outcomes for several of Copeland’s other conditions, for

example, hepatitis C. See Reid et al., Hepatitis C Virus Infection in the Older Patient, Infectious

Disease Clinics of N. Am. (Dec. 2017) (literature review; discussing one study finding that

increased risk of cirrhosis, hepatocellular carcinoma, and death from hepatitis C among those 65

or older, and others finding that “older age ... may also play a role in the progression of HCV-

associated liver disease), available at https://bit.ly/3eQcG89. Accordingly, Copeland’s multiple

degenerative diseases of aging satisfy Note 1(B)(ii). See, e.g., United States v. Davis, 2020 WL

1083158, at *2 & n.5 (D. Md. March 5, 2020) (finding Note 1(B)(ii) satisfied, and granting

compassionate release, based on multiple conditions, including hypertension and atherosclerosis).

       With respect to Application Note 1(D), the analysis is even simpler. Section 4(c) of



                                                  15
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 17 of 48 PageID #: 1193



Program Statement 5050.50 sets forth only two criteria: an inmate must be (i) age 65 or older, and

(ii) have served the greater of 10 years or 75% of his term of imprisonment. See Hansen, 2020

WL 1703672, at *6 (explaining that § 4(c) “expands the definition of ‘extraordinary and

compelling reasons’ to cover age even when the inmate has no medical condition”). Copeland is

67. He has been incarcerated since September 29, 2003, PSR p.1, so he has served 199 calendar

months, or 16 years and seven months. A federal prisoner accrues 54 days of good time credit per

year, see 18 U.S.C. § 3621(b)(2), so Copeland has accrued about 895 days, or 30 months.

Counting good time credit, he has therefore served 229 months of a 280-month sentence, or

81.8%. To put the calculation differently, Copeland’s sentence has been running since September

29, 2003, and BOP projects that it will end on August 18, 2023, about 239 calendar months later.

Copeland has served 199 calendar months of that period, or 83.3%. Either way, Copeland has

served enough of his sentence to establish § 4(c) eligibility.

       Finally, Copeland reiterates that this Court is not limited to the precise sets of

circumstances set forth in Application Note 1 and Program Statement 5050.50. Rather, this Court

can consider all of Copeland’s personal circumstances, as well as the unprecedented public health

crisis created by the COVID–19 pandemic, in deciding whether to grant compassionate release.

See Haynes, 2020 WL 1941478, at *11–15; Rodriguez, 2020 WL 1627331, at *2–6.

D.     Copeland’s Release Will Not Endanger The Community, And A Reduction To Time
       Served Comports With The § 3553(a) Factors.

       Section 1B1.13(2) provides that this Court may reduce a defendant’s sentence if he “is not

a danger to the safety of any other person or to the community.” Copeland acknowledges that a

jury convicted him of serious crimes, and that he has a significant, albeit dated, criminal history.

But Copeland’s advanced age and his manifest rehabilitation confirm that he poses no such

danger today. At sentencing, this Court observed that Copeland “has a history of nonviolent bank

                                                 16
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 18 of 48 PageID #: 1194



robberies,” and determined that “a lengthy sentence of 20 or 25 years is going, as a practical

matter, [to] incapacitate him considering his age.” Sent’g Tr. 29–30. Indeed, this Court found it

“unlikely that you are going to be committing any more bank robberies if and when you get out of

jail at 70 or ... 72.” Id. at 45–46. Copeland’s institutional record in the 15 years since sentencing

confirms that this Court was correct. Copeland has incurred no disciplinary infractions. He has

done an “exceptional job performing his duties” on his work detail, earning promotion after

promotion. Exh. A. He has addressed the root cause of his criminal history, heroin addiction, by

completing nonresidential drug treatment and drug education programs. Moreover, “older

offenders are substantially less likely to recidivate following release than younger cohorts. ...

Older offenders who do recidivate do so later in the follow-up period, do so less frequently, and

had less serious recidivism offenses.” U.S. Sent’g Comm’n, The Effects of Aging on Recidivism

Among Federal Offenders 30 (Dec. 2017), available at https://bit.ly/2SbpxZ8. Only 13.4% of

those older than 65 upon release were rearrested, 6.5% were reconvicted, and 4.1% were

reincarcerated; in contrast, for those aged 21–24 upon release, the corresponding percentages

were 66.6%, 48.4%, and 38.6%. Id. at 23 figs.13–15. See also The Osborn Ass’n, The High Costs

of Low Risk: The Crisis of America’s Aging Prison Population 11 (May 2018) (“Nationwide,

43.3 percent of all released individuals recidivate within three years, while only ... four percent of

those over 65 return to prison for new convictions.”), available at https://bit.ly/2Y18r3Q.

       In addition, immediate release comports with the § 3553(a) factors. In particular, the

COVID–19 pandemic, which no one could have foreseen at the time of sentencing, requires this

Court to pay particular heed to §§ 3553(a)(1) (Copeland’s “history and characteristics”) and

3553(a)(2)(D) (the “need to provide” Copeland with “needed ... medical care” “in the most

effective manner”). As to the former factor, Copeland’s age and serious medical conditions now



                                                 17
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 19 of 48 PageID #: 1195



carry dispositive weight. An extended term of incarceration for a 67-year-old man with

hypertension, atherosclerosis, hepatitis C, latent tuberculosis, and other comorbidities, in a facility

where the virus is prevalent and spreading, poses a significant threat of severe illness and death.

As to the latter factor, if Copeland is released, he will reside with Linda Johnson, his partner of

more than 50 years, see PSR ¶¶ 79–81, at her apartment in Brooklyn. This environment will

“most effective[ly]” allow Copeland to take the precautions essential to protect himself from

contracting COVID–19: self-isolation, social distancing, hygiene, and sanitation. Whatever

measures BOP is taking at Fort Dix cannot substitute for the safety of a single-family apartment.

       As discussed above, counting good time, Copeland has served about 229 months. That is a

substantial term, and there is no danger that the public, or Copeland, will perceive him to have

gotten off lightly. See § 3553(a)(2)(A). Moreover, Copeland’s maturation and rehabilitation

reduce the need for deterrence and incapacitation today. See §§ 3553(a)(2)(B) and (C); Pepper v.

United States, 562 U.S. 476, 490–91 (2011) (holding that district court conducting resentencing

proceeding “may consider evidence of a defendant’s rehabilitation since his prior sentencing” as

basis for “downward variance,” and explaining that such evidence “may be highly relevant” to

§§ 3553(a)(2)(B) and (C)). Finally, this Court can convert the unserved portion of Copeland’s

sentence to a term of supervised release, see § 3582(c)(1)(A), in addition to the five-year term

already imposed. And this Court can modify the release conditions as appropriate, including by

ordering home incarceration. Id.; see also 18 U.S.C. §§ 3563(b)(19), 3583(d), 3583(e)(2).

Reweighing the § 3553(a) factors for defendants who, like Copeland, have served long terms of

imprisonment and find themselves at high risk from the COVID–19 pandemic, courts have

deemed sentence reductions more substantial than what Copeland seeks appropriate. E.g., United

States v. Hammond, 2020 WL 1891980 (D.D.C. Apr. 16, 2020) (reducing approximately 30-year



                                                 18
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 20 of 48 PageID #: 1196



sentence for violent gunpoint robbery to 18 years).

       In a recent essay urging decarceration of elderly and rehabilitated prisoners, Joseph

Margulies writes of inmates serving long sentences who have “made the turn”—those who “have

thoroughly abandoned their prior way of navigating the world. Margulies, Let the People Go,

Boston Review (Apr. 20, 2020), https://bit.ly/3ayuode. They “look back on their past with a

mixture of astonishment, revulsion, and regret. Many of them committed very serious crimes, but

they will never run afoul of the law again.” Id. Copeland too has made the turn: “[t]he person who

entered prison” in 2003 “simply no longer exists,” id., and this Court should so recognize.

E.     The Exhaustion Requirement Is Satisfied.

       Finally, Section 3582(c)(1)(A) provides that a court may grant compassionate release

“after the defendant has fully exhausted all administrative rights to appeal a failure of the Bureau

of Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier.” This provision

poses no impediment to Copeland’s immediate compassionate release.

       First, the warden’s refusal to accept counsel’s request for compassionate release, in direct

contravention of BOP’s own regulation and program statement, renders the administrative

process unavailable. “[A]n administrative procedure is unavailable when (despite what

regulations or guidance materials may say) it operates as a simple dead end—with officers unable

or consistently unwilling to provide any relief to aggrieved inmates.” Ross, 136 S. Ct. at 1859. In

a hypothetical that captures this case, Ross explained: “Suppose, for example, that a prison

handbook directs inmates to submit their grievances to a particular administrative office—but in

practice that office disclaims the capacity to consider those petitions. The procedure is not then

‘capable of use’ for the pertinent purpose.” Id. Here, § 571.61(b) provides: “The Bureau of


                                                19
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 21 of 48 PageID #: 1197



Prisons processes a request made by another person on behalf of an inmate in the same manner as

an inmate’s request. Staff shall refer a request received at the Central Office to the Warden of the

institution where the inmate is confined.” See also Program Statement 5050.50, § 2 (quoting

§ 571.61(b), and providing that a request for compassionate release “is considered ‘submitted’”

when “received by the Warden in accordance with this section”). In reliance on this regulation

and program statement, counsel requested compassionate release by emailing Fort Dix’s central

office on Copeland’s behalf. Counsel’s emails reached the warden, but the warden refused to

consider them—even though other BOP facilities, including the MCC and MDC, accept

submissions from counsel, and even though it serves no purpose, in this time of great urgency, to

enforce such a purposeless (not to mention nonexistent) requirement. Copeland need not exhaust

an administrative process that ignores its own rules.

       Second, this Court need not wait until May 6, 2020 (30 days from the submission of

Copeland’s request to the warden on April 6, 2020, see Exh. I) before granting this motion. As

recent opinions by Judges Liman, Rakoff, Keenan, and Ross explain in detail, § 3582(c)(1)(A)’s

exhaustion provision is non-jurisdictional, subject to waiver, and properly waived in light of the

exigencies created by the COVID–19 pandemic. United States v. Russo, 2020 WL 1862294, at

*3–7 (S.D.N.Y. Apr. 14, 2020) (Liman, J.) (analyzing exhaustion issue; concluding that court

“can grant the requested relief on its own authority, given the extraordinary circumstances here,

and because doing so would not be inconsistent with congressional intent”); Haney, 2020 WL

1821988, at *1–4 (Rakoff, J.) (same; concluding that “Congressional intent not only permits

judicial waiver of the 30-day exhaustion period, but also, in the current extreme circumstances,

actually favors such waiver, allowing courts to deal with the emergency before it is potentially

too late”); Smith, 2020 WL 1849748, at *2–4 (Keenan, J.) (same; concluding that “the First Step



                                                20
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 22 of 48 PageID #: 1198



Act did not empower the Government with the sole authority to decide when and under what

conditions exhaustion may be waived,” and “agree[ing] ... that “judicial waiver is permissible in

light of the extraordinary threat certain inmates face from COVID–19”); Sawicz, 2020 WL

1815851, at *2 (Ross, J.) (same; concluding that “[t]he COVID-19 outbreak at FCI Danbury,

combined with the fact that the defendant is at risk of suffering severe complications if he were to

contract COVID-19 because of his hypertension, justifies waiver,” because the “delay that the

defendant would experience if he had to wait for thirty days to expire before pursuing a motion

for compassionate release in this court would put him at significant risk of suffering catastrophic

health consequences”). See also, e.g., United States v. Livingston, 2020 WL 1905202, at *1–2

(E.D.N.Y. Apr. 17, 2020) (ENV); United States v. McCarthy, 2020 WL 1698732, at *4 (D. Conn.

Apr. 8, 2020); Zukerman, 2020 WL 1659880, at *4; Colvin, 2020 WL 1613943, at *2; Perez,

2020 WL 1546422, at *1–3 (all waiving exhaustion).

       The argument is straightforward. Section 3582(c)(1)(A)’s exhaustion provision is non-

jurisdictional. “A rule qualifies as jurisdictional only if ‘Congress has clearly stated that the rule

is jurisdictional.’ ‘Absent such a clear statement,’ the Supreme Court has cautioned, ‘courts

should treat the restriction as nonjurisdictional in character, with the specific goal of ‘ward[ing]

off profligate use of the term ‘jurisdiction.’’” Haney, 2020 WL 1821988, at *2 (quoting Sebelius

v. Auburn Reg’l Med. Ctr., 568 U.S. 145, 153 (2013)). Section 3582(c)(1)(A) contains no

language that speaks to jurisdiction, let alone the requisite clear statement. Russo, 2020 WL

1862294, at *4. Moreover, the Second Circuit has held that a related provision, § 3582(c)(2), is

non-jurisdictional. United States v. Johnson, 732 F.3d 109, 116 n.1 (2d Cir. 2013). Finally, the

government has waived exhaustion in certain cases and courts have accepted these waivers.

United States v. Dana, 14 Cr. 405, (S.D.N.Y. Mar. 31, 2020), Dkt. No. 108; United States v.



                                                  21
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 23 of 48 PageID #: 1199



Marin, 15 Cr. 252 (PKC) (E.D.N.Y. Mar. 30, 2020), Dkt. Nos. 1325–26. If exhaustion were

jurisdictional, failure to exhaust would have deprived these courts of adjudicatory authority,

notwithstanding the parties’ consent. Indeed, the government itself concedes that exhaustion is

non-jurisdictional. Russo, 2020 WL 1862294, at *4; Smith, 2020 WL 1849748, at *3.

       Because § 3582(c)(1)(A)’s exhaustion requirement is non-jurisdictional, it is instead a

claim-processing rule, which “do[es] not ‘govern a court’s adjudicatory capacity’” and “may, in

certain cases, be waivable by the parties or the courts.” Haney, 2020 WL 1821988, at *2 (quoting

Henderson v. Shinseki, 562 U.S. 428, 435 (2011)). “Even where exhaustion is seemingly

mandated by statute ... , the requirement is not absolute.” Washington v. Barr, 925 F.3d 109, 118

(2d Cir. 2019). Rather, “[a] court may waive an administrative exhaustion requirement ‘where

[exhaustion] would be futile, ... where the administrative process would be incapable of granting

adequate relief ... [or] where pursuing agency review would subject [the person seeking relief] to

undue prejudice.’” Sawicz, 2020 WL 1815851, at *2 (quoting Washington, 925 F.3d at 118–19).

See also Perez, 2020 WL 1546422, at *2–3 (applying same exceptions). The Second Circuit has

so confirmed by holding claim-processing exhaustion requirements in other statutory contexts

subject to equitable exceptions and judicial waiver. E.g., Grullon v. Mukasey, 509 F.3d 107, 111

(2d Cir. 2007) (INA); Boos v. Runyon, 201 F.3d 178, 183 (2d Cir. 2000 (Rehabilitation Act); New

York v. Sullivan, 906 F.2d 910, 917–18 (2d Cir. 1990) (Social Security Act).

       Here, because enforcement of the full statutory 30-day period would place Copeland at

grave risk of harm, this Court should waive the remaining 10 days. “[I]f the delay attending

exhaustion would subject claimants to deteriorating health, ... then waiver may be appropriate.”

Abbey v. Sullivan, 978 F.2d 37, 46 (2d Cir. 1992). Likewise, waiver is appropriate because

“enforcement of the exhaustion requirement would cause [Copeland] irreparable injury” by



                                                22
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 24 of 48 PageID #: 1200



risking “deteriorating health, and possibly even ... death.” Sullivan, 906 F.2d at 918. Indeed,

“even a few weeks’ delay carries the risk of catastrophic health consequences for [Copeland]. ...

[R]equiring him to exhaust administrative remedies, given his unique circumstances and the

exigency of a rapidly advancing pandemic, would result in undue prejudice and render exhaustion

of the full BOP administrative process both futile and inadequate.” Perez, 2020 WL 1546422, at

*3. “’[U]ndue delay, if it in fact results in catastrophic health consequences,’ can justify waiving

an administrative exhaustion requirement.” Sawicz, 2020 WL 1815851, at *2 (quoting

Washington, 925 F.3d at 120–21).

       Moreover, judicial waiver of the exhaustion rule in the unique circumstances presented by

the pandemic aligns with Congress’s design. “Congress cannot have intended the 30-day waiting

period of § 3582(c)(1)(A) to rigidly apply in the highly unusual situation in which the nation finds

itself today.” Haney, 2020 WL 1821988, at *3. Section 3582(c)(1)(A) “does not contain an

exhaustion requirement in the traditional sense.” Id. “That is, the statute does not necessarily

require the moving defendant to fully litigate his claim before the agency (i.e., the BOP) before

bringing his petition to court. Rather, it requires the defendant either to exhaust administrative

remedies or simply to wait 30 days after serving his petition on the warden of his facility before

filing a motion in court.” Id. Accordingly, it was at least as important to Congress that defendants

receive prompt judicial review of compassionate release motions as it was that BOP have an

opportunity to consider those motions in the first instance. Section 3582(c)(1)(A) therefore “does

not reflect unqualified commitment to administrative exhaustion and it does reflect

acknowledgement that the judiciary has an independent interest in, and responsibility for, the

criminal judgments it is charged with imposing.” Russo, 2020 WL 1862294, at *6. The statute’s

plain text therefore “evinces congressional intent that a defendant has a right to a prompt and



                                                 23
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 25 of 48 PageID #: 1201



meaningful judicial determination of whether she should be compassionately released, regardless

of whether administrative remedies have been exhausted.” Id.

       This is the critical point: “ the 30-day rule was meant as an accelerant to judicial review.”

Smith, 2020 WL 1849748, at *4 (emphasis added). “[W]here each day that goes by threatens

incarcerated defendants with greater peril,” it would “pervert congressional intent to treat [the 30-

day rule] as a substantial obstacle to effective judicial review.” Id. (emphasis added). In practical

terms, “each day a defendant must wait before presenting what could otherwise be a meritorious

petition threatens him with a greater risk of infection and worse.” Haney, 2020 WL 1821988, at

*4. The “delay” that Copeland would experience if he had to wait 10 days for this Court to decide

his motion “would put him at significant risk of suffering catastrophic health consequences.”

Sawicz, 2020 WL 1815851, at *2. “[I] the extraordinary circumstances now faced by prisoners as

a result of the COVID–19 virus and its capacity to spread in swift and deadly fashion, the

objective of meaningful and prompt judicial resolution is clearly best served by permitting

[Copeland] to seek relief before the 30-day period has elapsed.” Haney, 2020 WL 1821988, at *4.




                                                 24
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 26 of 48 PageID #: 1202



                                         CONCLUSION

         This Court should grant Copeland’s motion, reduce his sentence to time served, convert

the unserved portion of his sentence to a term of supervised release, and modify the conditions of

supervision as appropriate, including by ordering a term of home confinement.

Dated:          New York, New York
                April 26, 2020


                                      Respectfully submitted,

                               FEDERAL DEFENDERS OF NEW YORK, INC.
                               APPEALS BUREAU

                                      By: /s/

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                                                25
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 27 of 48 PageID #: 1203




                        EXHIBIT A
      Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 28 of 48 PageID #: 1204
                                               U.S. Department of Justice

                                                        Federal Bureau of Prisons

                                                        Memorandum

      Federal Correctional Institution                  Fort Dix, NJ 08640


Date: 04/15/202

Reply to
Attn of:        wartin, Co    ional Counselor

Subject:    Inmate Copeland #24627-037

To:        Daniel Habib, Attorney


          On December 17, 2013 inmate Copeland arrived at FCI Fort Dix. On January 21, 2014 inmate
Copeland was hired as a unit orderly. Upon being hired as an orderly inmate Copeland was given the
responsibilities of cleaning bathrooms and showers within the inmate housing unit. After several
months of performing his duties he was given more responsibilities like setting up rooms for new
arrivals, sweeping and mopping floors and trash detail. In 2017 inmate Copeland was made floor
coordinator of his housing unit. Inmate Copeland did an exceptional job performing his duties and
earned the respect from the other inmates while helping them along the way. Because of inmate
Copeland always accepting and completing all duties thrown his way, inmate Copeland was named
building coordinator. While taking on this job inmate Copeland was responsible for: opening and
closing units, training new orderlies, overall building sanitation, outside grounds sanitation, floor
maintenance, and special cleanup detail for various infectious diseases.
 Since arriving at FCI Fort Dix in 2013, Inmate Copeland has remained incident report free. Inmate
Copeland is a leader in his religious community. Every staff member at the institution has had a
positive interaction with inmate Copeland. Inmate Copeland has demonstrated tremendous growth as a
worker and human while being under my direct supervision in the last six years.
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 29 of 48 PageID #: 1205




                        EXHIBIT B
       Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 30 of 48 PageID #: 1206


                 Individualized Reentry Plan - Program Review (File copy)                          SEQUENCE: 00028950
                           Dept. of Justice / Federal Bureau of Prisons                        Team Date: 11-05-2019
                 Plan is for inmate: COPELAND, EDWARD T       24627-037

                                     Facility:   FTD FORT DIX FCI
                                      Name:      COPELAND, EDWARD T
                               Register No.:     2 4 6 27 - 03 7
                                        Age:     67                           DNA Status: OTV01831 / 05-23-2011
                               Date of Birth:                                CIMS Status: YES
                            Proj. Rel. Date:     01-27-2024               CIMS Reconciled: N/A
                          Proj. Rel. Method:     GCT REL
Inmate is subject to 18 U.S.C. 4042(B) Notification:                                     Yes
             CURRENT CONVICTION FOR A CRIME OF VIOLENCE
             PRIOR CONVICTION FOR A CRIME OF VIOLENCE
Inmate is subject to 18 U.S.C. 4042(C) Notification and Registration:                    N/A

Offense Sentences
Charge                                                                     Terms In Effect
T18:371 (CT 1) - CONSPIRACY TO COMMIT BANK ROBBERY:                        196 MONTHS
T18:2113 (CT 2) BANK ROBBERY.
T18:924(C)(1)(A) (CT 3) - UNLAWFUL USE OF A FIREARM.                       84 MONTHS

Detainers
Detaining Agency                                 Remarks
NO DETAINER

Current CMA Assignments
Assignment          Description                                             Start
BIR CERT Y                BIRTH CERTIFICATE - YES                           01-14-2020
CFSR                      CERT FOOD SINCERITY REMOVAL                       10-22-2005
DEPEND N                  DEPENDENTS UNDER 21 - NO                          01-14-2020
PHOTO ID Y                PHOTO ID -YES                                     01-14-2020
RPP NEEDS                 RELEASE PREP PGM NEEDS                            10-04-2005
SSN CARD Y                SOCIAL SECURITY CARD - YES                        01-14-2020
VET P/S N                 PARENT/SPOUSE VETERAN - NO                        01-14-2020
VETERAN N                 VETERAN -NO                                       01-14-2020
V94 CVA913                V94 CURR VIOL ON/AFTER 91394                      10-04-2005
V94 CVB913                V94 CURR VIOL BEFORE 91394                        11-28-1999
V94 PV                    V94 PAST VIOLENCE                                 02-16-1997
WA NO HIST                NO WALSH ACT OFFENSE HISTORY                      01-16-2008
Current Work Assignments
Facl      Assignment      Description                                       Start
FTD       5841 ORD W      UNIT ORDERLY - 5841                               01-21-2014
Current Education Information
Facl     Assignment Description                                             Start
FTD       ESL HAS         ENGLISH PROFICIENT                                07-31-1991
FTD       GED HAS         COMPLETED GED OR HS DIPLOMA                       06-01-1991
Education Courses
SubFacl Action            Description                                       Start              Stop
FTD GP       C            BLACK HISTORY                                     02-20-2018         02-20-2018
FTD GP       C            YOUNG MEN INCORPORATED -WEST                      06-29-2017         08-31-2017
FTD GP       C            YOUNG MEN INCORPORATED - WEST                     05-24-2017         05-24-2017
FTD GP       C            BLACK HISTORY MNTH CLASS                          01-09-2016         03-26-2016
FTD GP       C            BLACK HISTORY SEMINAR                             03-28-2016         03-28-2016
FTD GP       C            7 HABITS OF EFFECTIVE PEOPLE                      07-07-2015         09-22-2015
FTD GP       C            UNIT TEAM DVLPMNT SKILLS PRGRM                    06-08-2015         06-08-2015
FTD GP       C            APPRENTICESHIP-HOUSEKEEPING                       11-18-2014         05-19-2015
FTD GP       C            COMPUTER SKILLS VT-2:00-3:30PM                    10-14-2014         02-20-2015


Archived as of 01-17-2020               Individualized Reentry Plan - Program Review (File Copy)            Page 1 of 4
     Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 31 of 48 PageID #: 1207


                 Individualized Reentry Plan - Program Review (File copy)                            SEQUENCE: 00028950
                              Dept. of Justice / Federal Bureau of Prisons                      Team Date: 11-05-2019
                 Plan is for inmate: COPELAND, EDWARD T       24627-037

SubFacl Action              Description                                    Start                Stop
OTV GP       C              INSTRUCTOR BREAKING CYCLES                     07-25-2011           07-25-2011
OTV GP       C              INSTRUCTOR CRITCL ELV THINKING                 04-25-2011           04-25-2011
OTV GP       C              INSTRUCTOR-BREAKING CYCLES                     10-02-2010           10-05-2010
OTV GP       C              INSTRUCTOR-ENLIGHTENMENT                       03-25-2010           07-05-2010
OTV GP       C              CULTURAL DIVERSITY/AWARENESS                   01-10-2010           03-10-2010
OTV GP       C              INSTRUCTOR-BREAKING CYCLES                     01-30-2010           02-03-2010
OTV GP       C              INSTRUCTOR-BREAKING CYCLES                     08-08-2009           11-05-2009
OTV GP       C              CRITICAL ELEVATED THINKING                     08-08-2010           11-08-2010
OTV GP       C              CRITICAL ELEVATED THINKING                     11-05-2009           01-03-2010
OTV GP       C              CRITICAL ELEVATED THINKING                     05-12-2009           07-12-2009
OTV GP       C              DEALING WITH TEENAGERS                         02-17-2008           03-19-2008
OTV GP       C              STEP TRAINING FOR PARENTING                    08-09-2007           09-28-2007
OTV GP       C              EDUCATION ORIENTATION - AM                     06-21-2007           06-21-2007
HAZ          C              PG USP PUB SPEAK TU 1830-1930                  02-08-2006           04-07-2006
Discipline History (Last 6 months)
Hearing Date            Prohibited Acts
** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

ARS Assignments
Facl       Assignment                Reason                                Start                Stop
FTD GP           A-DES               TRANSFER RECEIVED                     12-17-2013           CURRENT
GIL              A-DES               OTHER AUTH ABSENCE RETURN             04-16-2013           12-16-2013
GIL              A-DES               TRANSFER RECEIVED                     09-12-2012           04-16-2013
OTV GP           A-DES               OTHER AUTH ABSENCE RETURN             04-13-2011           08-29-2012
OTV GP           A-DES               TRANSFER RECEIVED                     05-15-2007           04-13-2011
HAZ              A-DES               TRANSFER RECEIVED                     05-08-2007           05-09-2007
HAZ              A-DES               US DISTRICT COURT COMMITMENT          09-28-2005           05-08-2007
Current Care Assignments
Assignment           Description                                           Start
CARE1                        HEALTHY OR SIMPLE CHRONIC CARE                10-14-2005
CARE1-MH                     CARE1-MENTAL HEALTH                           06-08-2010
Current Medical Duty Status Assignments
Assignment            Description                                          Start
LOWER BUNK                   LOWER BUNK REQUIRED                           09-04-2019
MED HOLD                     MEDICAL HOLD - DO NOT TRANSFER                08-13-2019
PAPER                        LEGACY PAPER MEDICAL RECORD                   12-19-2018
REG DUTY W                   REGULAR DUTY W/MED RESTRICTION                05-16-2007
YES F/S                      CLEARED FOR FOOD SERVICE                      09-24-2012
Current PTP Assignments
Assignment          Description                                            Start
NO ASSIGNMENTS

Current Drug Assignments
Assignment       Description                                               Start
DRG I RQ C              DRG INTRV REQD: CONTRB TO OFF                      10-04-2005
ED COMP                 DRUG EDUCATION COMPLETE                            08-13-2009
NR COMP                 NRES DRUG TMT/COMPLETE                             03-12-2008
FRP Details
Most Recent Payment Plan
FRP Assignment:       COMPLT    FINANC RESP-COMPLETED           Start: 02-14-2006
Inmate Decision:  AGREED        $150.00              Frequency: SINGLE
Payments past 6 months:   $0.00             Obligation Balance: $0.00
Financial Obligations

Archived as of 01-17-2020                 Individualized Reentry Plan - Program Review (File Copy)           Page 2 of 4
      Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 32 of 48 PageID #: 1208

                 Individualized Reentry Plan - Program Review (File copy)                                                   SEQUENCE: 00028950
                                 Dept. of Justice / Federal, Bureau of Prisons                                         Team Date: 11-05-2019
                  Plan is for inmate: COPELAND, EDWARD T                 24627-037

Most Recent Payment Plan
No.        Type               Amount             Balance.           Payable                            Status
1          ASSMT              $100.00            $0.00              IMMEDIATE                          COMPLETEDZ
                                   "* NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2          ASSMT              $300.00            $0.00              IMMEDIATE                          COMPLETEDZ
                                   ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
Payment Details
Trust Fund Deposits - Past 6 months: $2,909.72                              Payments commensurate ?        Y
New Payment Plan:            ** No data **


Progress since last review
Has assisted unit team with A&O and continues to assist with sanitation in the unit.

Next Program Review Goals
Develop good work habits. Unit Team recommends to report timely, maintain more than favorable attendance record, no disciplinary reports; achieve
positive monthly performance evaluations, through next TEAM
Long Term Goals
Develop and maintain a savings plan in preparation for release. Self-enroll and maintain active enthusiastic participation in a hobby craft program
(Leather, Beads, Stick Work, Crochet, Drawing, or Painting). Meditate daily in.a quiet environment to find inner peace and self-projection. Consult with
Unit Team for informal Correctional Counseling to establish an atmosphere of open communications.
RRC/HC Placement


Comments
Judicial Recommendations: No.




Archived as of 01-17-2020                     Individualized Reentry Plan - Program Review (File Copy)                                  Page 3 of 4
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 33 of 48 PageID #: 1209




                 Individualized Reentry Plan - Program Review (File copy)                              SEQUENCE; 00028950
                            Dept. of Juotice / Federal Bureau of Prisons                          Team Date: 11-05-2019
                 Plan is for inmate; COPRLAND, EDWARD T 24027.037

                  Name: COPELAND, EDWARD T                             DNA Status: OTV01831 / 05-23-2011
            Register No.: 24 627 - 037
                    Age: 67
            Date of Birth: 10-08-1952




                               Inmate (COPELAND EDWARD T. Register No,: 24627-037)



                               Date




        Unit Manager / Chair          on                        Case Manager

                               11 \        \ LI                                II10(
        Date                                                    Date


                                            Individualized Reentry Plan - Program Review (Filo Copy)            Page 4 of 4
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 34 of 48 PageID #: 1210




                   EXHIBITS C-G
                    REDACTED
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 35 of 48 PageID #: 1211




                        EXHIBIT H
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 36 of 48 PageID #: 1212



 --------------------------------                  x
                                                   :
                                                   :
                                                   :
                                                   :
                                                   :
 APPLICATION FOR RELEASE FROM                      : AFFIDAVIT OF BRIE WILLIAMS,
 CUSTODY                                           : M.D.
                                                   :
                                                   :
                                                   :
                                                   :
                                                   :
 --------------------------------                  X

I, Brie Williams, hereby affirm as follows:

       1.      I am a doctor duly licensed to practice medicine in the State of California.

       2.      I am currently a Professor of Medicine at the University of California, San

Francisco (“UCSF”) in the Geriatrics Division, Director of UCSF’s Amend: Changing

Correctional Culture Program, as well as Director of UCSF’s Criminal Justice & Health Program.

In that capacity, my clinical research has focused on improved responses to disability, cognitive

impairment, and symptom distress in older or seriously ill prisoners; a more scientific development

of compassionate release policies; and a broader inclusion of prisoners in national health datasets

and in clinical research. I have developed new methods for responding to the unique health needs

of criminal justice-involved older adults—including an evidence-based approach to reforming

compassionate release policies and the design of a new tool to assess physical functioning in older

prisoners. I was previously a consultant for the California Department of Corrections and

Rehabilitation, as well as for other state prison systems.

       3.      I have extensive experience working with vulnerable populations, in particular the

incarcerated and the elderly.
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 37 of 48 PageID #: 1213



        4.       I submit this affidavit in support of any defendant seeking release from custody

during the COVID-19 pandemic, so long as such release does not jeopardize public safety and the

inmate can be released to a residence in which the inmate can comply with CDC social distancing

guidelines. The statements in this affidavit are based only on the current state of emergency and

the circumstances described below.

The Risk of Infection and Accelerated Transmission of COVID-19 within Jails and Prisons
is Extraordinarily High.

        5.       Prisons and jails are not actually isolated from our communities: hundreds of

thousands of correctional officers and correctional healthcare workers enter these facilities every

day, returning to their families and to our communities at the end of their shifts, bringing back

and forth to their families and neighbors and to incarcerated patients any exposures they have

had during the day. Access to testing for correctional staff has been “extremely limited,” guards

have reported a “short supply” of protective equipment, and prisons are not routinely or

consistently screening correctional officers for symptoms.1

        6.       The risk of exposure is particularly acute in pre-trial facilities where the inmate

populations shift frequently.2 For example, despite the federal government’s guidance to stay


1
 Keegan Hamilton, Sick Staff, Inmate Transfers, and No Tests: How the U.S. Is Failing Federal Inmates as
Coronavirus Hits, Vice (Mar. 24, 2020), https://www.vice.com/en_ca/article/jge4vg/sick-staff-inmate-transfers-and-
no-tests-how-the-us-is-failing-federal-inmates-as-coronavirus-hits.

See also Daniel A. Gross, “It Spreads Like Wildfire”: The Coronavirus Comes to New York’s Prisons, The New
Yorker (Mar. 24, 2020), https://www.newyorker.com/news/news-desk/it-spreads-like-wildfire-covid-19-comes-to-
new-yorks-prisons; Josiah Bates, ‘We Feel Like All of Us Are Gonna Get Corona.’ Anticipating COVID-19
Outbreaks, Rikers Island Offers Warning for U.S. Jails, Prisons, Time (Mar. 24, 2020),
https://time.com/5808020/rikers-island-coronavirus/; Sadie, Gurman, Bureau of Prisons Imposes 14-Day
Quarantine to Contain Coronavirus, WSJ (Mar. 24, 2020), https://www.wsj.com/articles/bureau-of-prisons-
imposes-14-day-quarantine-to-contain-coronavirus-11585093075; Cassidy McDonald, Federal Prison Workers Say
Conflictings Orders on Coronavirus Response Is Putting Lives at Risk, CBS News (Mar. 19, 2020),
https://www.cbsnews.com/news/coronavirus-prison-federal-employees-say-conflicting-orders-putting-lives-at-risk-
2020-03-19/.
2
 Emma Grey Ellis, Covid-19 Poses a Heightened Threat in Jails and Prisons, Wired (Mar. 24, 2020),
https://www.wired.com/story/coronavirus-covid-19-jails-prisons/.


                                                        2
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 38 of 48 PageID #: 1214



inside and many states’ stay-in-place orders, many prosecutors are still arresting individuals and

seeking detention.3 Pre-trial detention facilities are still accepting new inmates who are coming

from communities where COVID-19 infection is rampant. As of today’s date, the Bureau of

Prisons is still moving inmates from facility to facility, including prisoners in New York.4

        7.       Because inmates live in close quarters, there is an extraordinarily high risk of

accelerated transmission of COVID-19 within jails and prisons. Inmates share small cells, eat

together and use the same bathrooms and sinks. They eat together at small tables that are cleaned

only irregularly. Some are not given tissues or sufficient hygiene supplies.5 Effective social

distancing in most facilities is virtually impossible, and crowding problems are often compounded

by inadequate sanitation, such as a lack of hand sanitizer or sufficient opportunities to wash hands.6

Inmate Populations Also Have the Highest Risk of Acute Illness and Poor Health Outcomes
if Infected with COVID-19.

        8.       There are more than 2.3 million people incarcerated in the United States7



3
  Stephen Rex Brown, ‘Business as Usual’ For Federal Prosecutors Despite Coronavirus, Nadler Writes, Calling
for Release of Inmates, N.Y. Daily News (Mar. 20, 2020), https://www.nydailynews.com/new-york/ny-nadler-doj-
inmates-20200320-d6hbdjcuj5aitppi3ui2xz7tjy-story.html.
4
  Courtney Bublé, Lawmakers, Union Urge Halt to All Prison Inmate Transfers, Government Executive (Mar. 25,
2020), https://www.govexec.com/management/2020/03/lawmakers-union-urge-halt-all-prison-inmate-
transfers/164104/; Hamilton, Sick Staff, Inmate Transfers; Luke Barr, Despite Coronavirus Warnings, Federal
Bureau of Prisons Still Transporting Inmates, ABC News (Mar. 23, 2020),https://abcnews.go.com/Health/warnings-
bureau-prisons-transporting-inmates-sources/story?id=69747416.
5
  Justine van der Leun, The Incarcerated Person Who Knows How Bad It Can Get, Medium (Mar. 19, 2020),
https://gen.medium.com/what-its-like-to-be-in-prison-during-the-coronavirus-pandemic-1e770d0ca3c5 (“If you
don’t have money, you don’t have soap or tissues.”); Keri Blakinger and Beth Schwartzapfel, How Can Prisons
Contain Coronavirus When Purrell Is a Contraband?, ABA Journal (Mar. 13, 2020),
https://www.abajournal.com/news/article/when-purell-is-contraband-how-can-prisons-contain-coronavirus.
6
 Rosa Schwartzburg, ‘The Only Plan the Prison Has Is to Leave Us To Die in Our Beds’, The Nation (Mar. 25,
2020), https://www.thenation.com/article/society/coronavirus-jails-mdc/.
7
  Kimberly Kindy et al., ‘Disaster Waiting to Happen’: Thousands of Inmates Released as Jails and Prisons Face
Coronavirus Threat, Washington Post (Mar. 25, 2020), https://www.washingtonpost.com/national/disaster-waiting-
to-happen-thousands-of-inmates-released-as-jails-face-coronavirus-threat/2020/03/24/761c2d84-6b8c-11ea-b313-
df458622c2cc_story.html.



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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 39 of 48 PageID #: 1215



approximately 16% of whom are age 50 or older.8 The risk of coronavirus to incarcerated seniors

is high. “Their advanced age, coupled with the challenges of practicing even the most basic disease

prevention measures in prison, is a potentially lethal combination.”9 To make matters worse,

correctional facilities are often ill-equipped to care for aging prisoners, who are more likely to

suffer from chronic health conditions than the general public.

        9.       An estimated 39-43% of all prisoners, and over 70% of older prisoners, have at

least one chronic condition, some of the most common of which are diabetes, hypertension, and

heart problems.10 According to the CDC, each of these conditions—as well as chronic bronchitis,

emphysema, heart failure, blood disorders, chronic kidney disease, chronic liver disease, any

condition or treatment that weakens the immune response, current or recent pregnancy in the last

two weeks, inherited metabolic disorders and mitochondrial disorders, heart disease, lung disease,

and certain neurological and neurologic and neurodevelopment conditions11—puts them at a

“high-risk for severe illness from COVID-19.”12


8
 Brie Williams et al., Strategies to Optimize the Use of Compassionate Release from US Prisons, 110 AJPH S1,
S28 (2020), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305434; Kimberly A.
Skarupski, The Health of America’s Aging Prison Population, 40 Epidemiologic Rev. 157, 157 (2018), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5982810/.
9
  Weihua Li and Nicole Lewis, This Chart Shows Why the Prison Population is So Vulnerable to COVID-19, The
Marshall Project (Mar. 19, 2020), https://www.themarshallproject.org/2020/03/19/this-chart-shows-why-the-prison-
population-is-so-vulnerable-to-covid-19.
10
  Brie A. Williams et al., How Health Care Reform Can Transform the Health of Criminal Justice-Involved
Individuals, 33 Health Affairs 462-67 (2014), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4034754/; Brie A.
Williams et al., Coming Home: Health Status and Homelessness Risk of Older Pre-release Prisoners, 25 J. Gen.
Internal Med. 1038-44 (2010), available at https://link.springer.com/content/pdf/10.1007/s11606-010-1416-8.pdf;
Laura M. Maruschak et al., Medical Problems of State and Federal Prisoners and Jail Inmates, 2011-12, U.S. Dept
of Justice (Oct. 4, 2016), at 5, available at https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf.
11
   Harvard Health Publishing, Coronavirus Research Center, Harvard Medical School (Mar. 25, 2020),
https://www.health.harvard.edu/diseases-and-conditions/coronavirus-resource-center.
12
   Centers for Disease Control and Prevention, Coronavirus Disease 2019: People Who Are at Higher Risk,
https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/people-at-higher-risk.html (last updated Mar. 22,
2020).



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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 40 of 48 PageID #: 1216



           10.    However, even many young federal prisoners suffer from asthma, rendering them

also very vulnerable to coronavirus.13

           11.    But it is not only the elderly, or those with preexisting medical conditions that are

at risk of coronavirus in a correctional setting. As of March 23, 2020, New York City reported

that “[p]eople ranging in ages from 18 to 44 have accounted for 46 percent of positive tests.”14

Across the United States, 38% of those hospitalized are between the ages of 20 and 54 and 12%

of the intensive care patients are between 20 and 44.15

           12.    This data is of particular concern for inmate populations, since prisoners’

physiological age averages 10 to 15 years older than their chronological age.16 Therefore, the

consensus of those who study correctional health is that inmates are considered “geriatric, by the

age of 50 or 55 years.”17 It is not clear that prison health care administrations are taking accelerated

ageing into account when determining the eligibility criteria for age-related screening tools and

medical care protocols for coronavirus, potentially leaving large swathes of the prison population

at risk.18



13
   Laura Maruschak, Medical Problems of Jail Inmates, Dep’t of Justice (Nov. 2006), at p. 2, available at
https://www.bjs.gov/content/pub/pdf/mpji.pdf.
14
  Kimiko de Freytas-Tamura, 20-Somethings Now Realizing That They Can Get Coronavirus, Too, N.Y. Times
(Mar. 23, 2020), https://www.nytimes.com/2020/03/23/nyregion/nyc-coronavirus-young.html.
15
     Id.
16
  Brie A. Williams et al., Aging in Correctional Custody: Setting a Policy Agenda for Older Prisoner Health Care,
102 Am. J. Public Health 1475-81 (2012), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3464842/;
see also Brie Williams et al., Detained and Distressed: Persistent Distressing Symptoms in a Population of Older
Jail Inmates, 64 J. Am. Geriatrics Soc. 2349-55 (2016), https://onlinelibrary.wiley.com/doi/pdf/10.1111/jgs.14310
(“For example, older jail inmates with an average age of 60 in this study reported poor or fair health [and] chronic
lung disease . . . at rates similar to those reported by community-based lower income older adults with an average
age of 72.”).
17
   Brie A. Williams et al., The Older Prisoner and Complex Chronic Medical Care 165-70 in World Health
Organization, Prisons and Health (2014),
https://pdfs.semanticscholar.org/64aa/10d3cff6800ed42dd152fcf4e13440b6f139.pdf.



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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 41 of 48 PageID #: 1217



            13.     In one study, we found that inmates who died in hospitals were, on average, nearly

two decades younger than non-incarcerated decedents, had significantly shorter hospitalizations,

and had higher rates of several chronic conditions including cancer, liver disease and/or hepatitis,

mental health conditions, and HIV/AIDS.”19

The Entire Community is at Risk If Prison Populations Are Not Reduced

            14.     As the World Health Organization has warned, prisons around the world can expect

“huge mortality rates” from Covid-19 unless they take immediate action including screening for

the disease.20

            15.     As of March 24, 2020, at least 38 people involved in the New York City

correctional system have tested positive for Covid-19.21 Already, three inmates and three staff at

federal correctional facilities across the United States have tested positive for the coronavirus,

according to the Federal Bureau of Prisons.22

            16.     Jails and prisons are fundamentally ill-equipped to handle a pandemic.

            17.     Medical treatment capacity is not at the same level in a correctional setting as it is

in a hospital. Some correctional facilities have no formal medical ward and no place to quarantine




18
   Brie A. Williams et al., Differences Between Incarcerated and Non-Incarcerated Patients Who Die in Community
Hospitals Highlight the Need For Palliative Care Services For Seriously Ill Prisoners in Correctional Facilities and
in Community Hospitals: a Cross-Sectional Study, 32 J. Pallitive Med. 17-22 (2018), available at
https://journals.sagepub.com/doi/pdf/10.1177/0269216317731547.
19
     Id. at 20.
20
  Hannah Summers, ‘Everyone Will Be Contaminated’: Prisons Face Strict Coronavirus Controls, The Guardian
(Mar. 23, 2020), https://www.theguardian.com/global-development/2020/mar/23/everyone-will-be-contaminated-
prisons-face-strict-coronavirus-controls.
21
     Ellis, Covid-19 Poses a Heightened Threat in Jails and Prisons.
22
   Ryan Lucas, As COVID-19 Spreads, Calls Grow to Protect Inmates in Federal Prisons, NPR (Mar. 24, 2020),
https://www.npr.org/sections/coronavirus-live-updates/2020/03/24/820618140/as-covid-19-spreads-calls-grow-to-
protect-inmates-in-federal-prisons.



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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 42 of 48 PageID #: 1218



sick inmates, other than the facilities’ Special Housing Unit (SHU).23 While the cells in the SHU

have solid doors to minimize the threat of viral spread in otherwise overcrowded facilities, they

rarely have intercoms or other ways for sick inmates to contact officers in an emergency.24 This

is particularly dangerous for those with COVID-19 infection since many patients with COVID-19

descend suddenly and rapidly into respiratory distress.25

        18.      Even those facilities that do have healthcare centers can only treat relatively mild

types of respiratory problems for a very limited number of people.26 This means that people who

become seriously ill while in prisons and jails will be transferred to community hospitals for care.

At present, access to palliative care in prison is also limited.

        19.      Corrections officers may also be particularly vulnerable to coronavirus due to

documented high rates of diabetes and heart disease.27 Prison staff in Pennsylvania, Michigan,

New York and Washington state have tested positive for the virus, resulting in inmate quarantines.

In Washington, D.C., a U.S. marshal who works in proximity to new arrestees tested positive for

the virus, meaning dozens of defendants headed for jail could have been exposed.28 In New York,



23
  MCC New York COVID 19 Policy Memo, Mar. 19, 2020, https://www.documentcloud.org/documents/6818073-
MCC-New-York-COVID-19-Policy-Memo.html; Danielle Ivory, ‘We Are Not a Hospital’: A Prison Braces for the
Coronavirus, N.Y. Times (Mar. 17, 2020), https://www.nytimes.com/2020/03/17/us/coronavirus-prisons-jails.html.
24
  Brie Williams et al., Correctional Facilities in the Shadow of COVID-19: Unique Challenges and Proposed
Solutions, Health Affairs (Mar. 26, 2020), https://www.healthaffairs.org/do/10.1377/hblog20200324.784502/full/.
25
  Lizzie Presser, A Medical Worker Describes Terrifying Lung Failure From COVID-19–Even in His Young
Patients, ProPublica (Mar. 21, 2020), https://www.propublica.org/article/a-medical-worker-describes--terrifying-
lung-failure-from-covid19-even-in-his-young-patients.
26
  Ellis, Covid-19 Poses a Heightened Threat in Jails and Prisons; Li and Lewis, This Chart Shows Why the Prison
Population is So Vulnerable to COVID-19.
27
  Brie Williams, Role of US-Norway Exchange in Placing Health and Well-Being at the Center of US Prison
Reform, https://ajph.aphapublications.org/doi/10.2105/AJPH.2019.305444 (published Jan. 22, 2020).
28
   Zusha Elinson and Deanna Paul, Jails Release Prisoners, Fearing Coronavirus Outbreak, WSJ (Mar. 22, 2020),
https://www.wsj.com/articles/jails-release-prisoners-fearing-coronavirus-outbreak-11584885600 (“We’re all headed
for some dire consequences,” said Daniel Vasquez, a former warden of San Quentin and Soledad state prisons in


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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 43 of 48 PageID #: 1219



236 members of the New York Police Department have tested positive for coronavirus and 3,200

employees are sick, triple the normal sick rate.29 Two federal prison staffers have also tested

positive.30

           20.      For this reason, correctional health is public health. Decreasing risk in prisons and

jails decreases risk to our communities.

           21.      Reducing the overall population within correctional facilities will also help medical

professionals spread their clinical care services throughout the remaining population more

efficiently. With a smaller population to manage and care for, healthcare and correctional

leadership will be better able to institute shelter in place and quarantine protocols for those who

remain. This will serve to protect the health of both inmates as well as correctional and healthcare

staff.


            I declare under penalty of perjury that the foregoing is true and correct.

Dated: San Francisco, California
       March 27, 2020




                                                                       Dr. Brie Williams




California. “They’re in such close quarters—some double- and triple-celled—I think it’s going to be impossible to
stop it from spreading.”).
29
   Erin Durkin, Thousands of NYPD Officers Out Sick Amid Coronavirus Crisis, Politico (Mar. 25, 2020),
https://www.politico.com/states/new-york/albany/story/2020/03/25/thousands-of-nypd-officers-out-sick-amid-
coronavirus-crisis-1268960.
30
     Elinson and Paul, Jails Release Prisoners, Fearing Coronavirus Outbreak.


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Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 44 of 48 PageID #: 1220




                        EXHIBIT I
Mail - Daniel_Habib@fd.org                                                      https://vpneast.fd.org/owa/,DanaInfo=mail.fd.org,SSL+#path=/mail/sent...
                   Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 45 of 48 PageID #: 1221

         ATTN: WARDEN: Request for Compassionate Release - Edward Copeland, Reg. No. 24627-037

          Daniel Habib
          Mon 4/6/2020 4:10 PM


          To:FTD/ExecAssistant@bop.gov   <FTD/ExecAssistant@bop.gov>;




         Dear Warden:

         I’m writing on behalf of my client, Edward Copeland, Reg. No. 24627-037, to request that BOP grant him compassionate release,
         pursuant to 18 USC 3582(c)(1)(A)(i) and 28 C.F.R. 571.60 et seq., and immediately release him from custody. In light of the COVID-19
         pandemic and Mr. Copeland’s high risk of severe illness, please accept this request on his behalf, as time is of the essence.

         Extraordinary and compelling reasons exist to warrant Mr. Copeland’s immediate release, namely, his advanced age (67), which places
         him at high risk for severe illness from COVID-19. I do not have access to Mr. Copeland’s BOP medical file, and I am therefore unaware
         whether Mr. Copeland has other medical conditions that place him at high risk. However, you have access to his medical file, and if there
         are other conditions reflected therein that place him at risk (for a list, see CDC, Groups at Higher Risk for Severe Illness,
         https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html), then I make my request on those
         grounds as well, and incorporate Mr. Copeland’s medical file by reference. In any event, Mr. Copeland’s age alone is enough to place
         him at risk. See CDC, Older Adults, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html.

         Mr. Copeland’s risk of contracting COVID-19 is further elevated by the particular circumstances of his Bureau of Prisons confinement.
         “Prisons are tinderboxes for infectious disease.” United States v. Rodriguez, 03 Cr. 271 (AB) (E.D. Pa. Apr. 1, 2020), ECF No. 135
         (granting inmate’s compassionate release motion and collecting research explaining the greater risk of infectious disease spread in
         detention facilities); see also United States v. Marin, 15 Cr. 252 (PKC) (E.D.N.Y. March 30, 2020) (granting compassionate release to
         defendant based on special risks he faced from COVID-19 in BOP custody); United States v. Perez, 17 Cr. 513 (AT) (S.D.N.Y. Apr. 1,
         2020) (same). As BOP’s website reflects, as of 4/6/20, FCI Fort Dix has one confirmed staff COVID-19 case. Inmates in BOP facilities,
         including FCI Fort Dix, face a serious risk of contracting this virus because they cannot take precautionary measures recommended by
         the CDC to avoid the virus, including social distancing, avoiding contact with infected persons, regular hand hygiene, and sanitizing their
         living spaces, among other measures.

         To avoid the serious dangers COVID-19 poses to Mr. Copeland’s health if he remains in detention, and based on his age and any
         applicable medical conditions, I request that he be granted a sentence reduction and that he be immediately released from custody (even
         if this includes spending a portion of his remaining custodial sentence on home confinement).

         In addition, even apart from the COVID-19 pandemic, Mr. Copeland appears to be eligible for compassionate release under BOP
         Program Statement 5050.50 (Jan. 17, 2019). Section 4(c) of that program statement makes eligible “[i]nmates age 65 or older who have
         served the greater of 10 years or 75% of the term of imprisonment to which the inmate was sentenced.” Mr. Copeland is 67 years old. He
         was sentenced to 280 months. See Judgment at 2, United States v. Copeland, 03 Cr. 1120 (FB) (E.D.N.Y. Aug. 26, 2005), ECF No. 187.
         He has been in BOP custody since his arrest in September 2003, see PSR p.1, so he has served 198 months of straight time. As BOP
         projects his release date as 8/18/23, he appears to have accrued about 41 months of good time credit. Consequently, he has served more
         than 75% of his sentence, and I request compassionate release on this independent ground as well.

         Please inform me of your decision on this request promptly. In addition, please contact me if I can provide any additional information
         related to this application. Thank you for your consideration of this request.

         Sincerely,
         Daniel Habib
         Assistant Federal Defender
         Federal Defenders of New York
         52 Duane Street, 10th Floor
         New York, NY 10007
         (212) 417‐8769 (o)
         (212) 571‐0392 (f)
         he/him/his




1 of 1                                                                                                                                  4/26/2020, 2:37 AM
Mail - Daniel_Habib@fd.org                                                       https://vpneast.fd.org/owa/,DanaInfo=mail.fd.org,SSL+#path=/mail/sent...
                      Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 46 of 48 PageID #: 1222

         Re: ATTN: WARDEN: Supplemental Request for Compassionate Release - Edward Copeland, Reg.
         No. 24627-037

         FTD/Exec Assistant~ <FTD/ExecAssistant~@bop.gov>
         Sat 4/11/2020 12:50 PM
         Inbox

         To:Daniel   Habib <Daniel_Habib@fd.org>;



         A response to your request was mailed on April 7, 2020.

         >>> Daniel Habib <Daniel_Habib@fd.org> 4/7/2020 10:46 PM >>>
         Dear Warden:

         I’m writing on behalf of my client, Edward Copeland, Reg. No. 24627-037, to request that BOP grant him compassionate release,
         pursuant to 18 USC 3582(c)(1)(A)(i) and 28 C.F.R. 571.60 et seq., and immediately release him from custody. In light of the COVID-19
         pandemic and Mr. Copeland’s high risk of severe illness, please accept this request on his behalf, as time is of the essence. This request
         supplements the request made via email of 4/6/20 with additional information concerning Mr. Copeland’s medical conditions and his
         release plan.

         Extraordinary and compelling reasons exist to warrant Mr. Copeland’s immediate release, namely, his advanced age (67), which places
         him at high risk for severe illness from COVID-19. I do not have access to Mr. Copeland’s BOP medical file, and I am therefore
         unaware whether Mr. Copeland has other medical conditions that place him at high risk. However, it is my understanding that Mr.
         Copeland (i) is borderline diabetic; (ii) was treated for hepatitis C within the last six months; and (iii) is currently being treated for
         hypertension, all of which could increase his risk. See CDC, Groups at Higher Risk for Severe Illness, https://www.cdc.gov/coronavirus
         /2019-ncov/need-extra-precautions/groups-at-higher-risk.html; CDC, Preliminary Estimates of the Prevalence of Selected Underlying
         Health Conditions Among Patients with Coronavirus Disease 2019: United States, February 12 – March 28, 2020, https://www.cdc.gov
         /mmwr/volumes/69/wr/mm6913e2.htm; Fang et al., Are Patients with Hypertension and Diabetes Mellitus at Increased Risk for
         COVID-19 Infection?, The Lancet (March 11, 2020), https://www.thelancet.com/journals/lanres/article/PIIS2213-2600(20)30116-8
         /fulltext. In addition, you have access to Mr. Copeland’s medical file, and if there are other conditions reflected therein that place him at
         risk, then I make my request on those grounds as well, and incorporate Mr. Copeland’s medical file by reference. In any event, Mr.
         Copeland’s age alone is enough to place him at risk. See CDC, Older Adults, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
         precautions/older-adults.html.

         Mr. Copeland’s risk of contracting COVID-19 is further elevated by the particular circumstances of his Bureau of Prisons confinement.
         “Prisons are tinderboxes for infectious disease.” United States v. Rodriguez, 03 Cr. 271 (AB) (E.D. Pa. Apr. 1, 2020), ECF No. 135
         (granting inmate’s compassionate release motion and collecting research explaining the greater risk of infectious disease spread in
         detention facilities); see also United States v. Marin, 15 Cr. 252 (PKC) (E.D.N.Y. March 30, 2020) (granting compassionate release to
         defendant based on special risks he faced from COVID-19 in BOP custody); United States v. Perez, 17 Cr. 513 (AT) (S.D.N.Y. Apr. 1,
         2020) (same). As BOP’s website reflects, as of 4/7/20, FCI Fort Dix has one confirmed inmate COVID-19 case and one confirmed staff
         case. Inmates in BOP facilities, including FCI Fort Dix, face a serious risk of contracting this virus because they cannot take
         precautionary measures recommended by the CDC to avoid the virus, including social distancing, avoiding contact with infected
         persons, regular hand hygiene, and sanitizing their living spaces, among other measures.

         To avoid the serious dangers COVID-19 poses to Mr. Copeland’s health if he remains in detention, and based on his age and any
         applicable medical conditions, I request that he be granted a sentence reduction and that he be immediately released from custody (even
         if this includes spending a portion of his remaining custodial sentence on home confinement). If released, Mr. Copeland would reside
         with his wife, Linda Johnson, at                                                   . Ms. Johnson is retired. Her phone number is
                        . This environment would be much safer than the institutional environment at FCI Fort Dix.

         In addition, even apart from the COVID-19 pandemic, Mr. Copeland appears to be eligible for compassionate release under BOP
         Program Statement 5050.50 (Jan. 17, 2019). Section 4(c) of that program statement makes eligible “[i]nmates age 65 or older who have
         served the greater of 10 years or 75% of the term of imprisonment to which the inmate was sentenced.” Mr. Copeland is 67 years old.
         He was sentenced to 280 months. See Judgment at 2, United States v. Copeland, 03 Cr. 1120 (FB) (E.D.N.Y. Aug. 26, 2005), ECF No.
         187. He has been in BOP custody since his arrest in September 2003, see PSR p.1, so he has served 198 months of straight time. As
         BOP projects his release date as 8/18/23, he appears to have accrued about 41 months of good time credit. Consequently, he has served
         more than 75% of his sentence, and I request compassionate release on this independent ground as well.

         Please inform me of your decision on this request promptly. In addition, please contact me if I can provide any additional information
         related to this application. Thank you for your consideration of this request.



1 of 2                                                                                                                                    4/26/2020, 2:38 AM
Mail - Daniel_Habib@fd.org                                https://vpneast.fd.org/owa/,DanaInfo=mail.fd.org,SSL+#path=/mail/sent...
                  Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 47 of 48 PageID #: 1223

         Sincerely,
         Daniel Habib
         Assistant Federal Defender
         Federal Defenders of New York
         52 Duane Street, 10th Floor
         New York, NY 10007
         (212) 417‐8769 (o)
         (212) 571‐0392 (f)
         he/him/his




2 of 2                                                                                                        4/26/2020, 2:38 AM
Case 1:03-cr-01120-FB Document 305 Filed 04/26/20 Page 48 of 48 PageID #: 1224



                                   U.S. Department of Justice
                                   Federal Bureau of Prisons
                                   Federal Correctional Institution
                                   P .O. Box 38
                                   Fort Dix, New Jersey 08640


April 7, 2020


Daniel Habib
Federal Defenders of New York
5 2 Duane Street, 10th Floor
New York, New York 10007


Re:    Copeland, Edward
       Register No. 24627-037

Dear Mr. Habib:

This is in response to your email dated April 6, 2020, regarding
Edward Copeland, an inmate currently incarcerated at the Federal
Correctional Institution (FCI) , Fort Dix, New Jersey. In your email
you request inmate Copeland be granted Compassionate Release.

In accordance with Program Statement 5050.50, Compassionate
Release/Reduction in Sentence, an inmate will ordinarily make a
request for a compassionate release unless he/she is incapable of
making such a request. As inmate Copeland is capable of making his
own request, your submission on his behalf will not be considered.
However, inmate Copeland's Unit Team will provide him with the
r equirements and policy qualifications related to requesting a
Compassionate Release/Reduction in Sentence.

I trust this addresses your concerns.


Sincerely,



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Wa    en

cc:    Edward Copeland
       Register No. 24627-037
